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                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                      40 Foley Square
                                    New York, NY 10007

DEBRA ANN LIVINGSTON                                         CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                  CLERK OF COURT

Date: June 14, 2023                                          DC Docket #: 14-cv-4242
Docket #: 22-2079op                                          DC Court: SDNY (NEW YORK
Short Title: In Re: JBR, Inc.                                CITY)
                                                             DC Judge: Broderick




                  NOTICE OF MOTION PLACED ON THE CALENDAR



A mandamus petition and a motion for leave to file a reply filed in the above-referenced case
have been added as a submitted case to the substantive motions calendar for Tuesday, June 27,
2023.

Inquiries regarding this case may be directed to 212-857-8595.
